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                              United States District Court, Northern District of Illinois

     Name of Assigned Judge           Ruben Castillo              Sitting Judge if Other
        or Magistrate Judge                                        than Assigned Judge

   CASE NUMBER                          09 C 4546                             DATE                       8/5/2009
            CASE                                  Christopher Sanchez, et al. Vs. Leslie Olsen, et al.
            TITLE

  DOCKET ENTRY TEXT

  United States’ motion to dismiss for failure to exhaust administrative remedies [3] is granted. This case is
  hereby dismissed as to the United States for failure to exhaust administrative remedies. The remainder of the
  case is hereby remanded to the Circuit Court of the 16th Judicial Circuit, Kane County, Illinois. Motion
  hearing set for 8/12/2009 is vacated.



                                                                                                                 Docketing to mail notices.




                                                                                           Courtroom Deputy                  RO
                                                                                                     Initials:




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